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12.535 EMERGENCY OPERATION OF POLICE VEHICLES AND
       PURSUIT DRIVING
Reference:

Procedure Manual 12.537, Mobile Video/Digital Video Recording Equipment
Ohio Revised Code 2744.02(B)(1)(a), Governmental Functions and Proprietary Functions
                                       of Political Subdivisions
Ohio Revised Code 2935.031, Policy for Pursuit in Motor Vehicle
Ohio Revised Code 2921.331, Failure to Comply with Order or Signal of Police Officer
Ohio Revised Code 4511.01(d), Definitions
Ohio Revised Code 4511.03, Emergency Vehicles at Red or Stop Signal
Ohio Revised Code 4511.24, Emergency Vehicles Excepted From Speed Limitations
Ohio Revised Code 4511.45, Right-of-Way of Public Safety Vehicles
Ohio Revised Code 4513.21, Horns, Sirens, and Warning Devices
Colbert v. City of Cleveland, 99 Ohio St.3d 215 (2003)
Cincinnati Municipal Code 513-1, Impoundment of Motor Vehicles
Cincinnati Municipal Code 759-2, Use of a Motor Vehicle in Failure to Comply with Order or
                                  Signal of a Police Officer
Definitions:
Emergency Driving (General Non-Pursuit) – the operation of an authorized emergency
vehicle (emergency lights and siren in operation) by a police officer in response to a life
threatening situation or a violent crime in progress, using due regard for the safety of
others.
Following – driving in close proximity to a subject vehicle without using any apprehension
efforts, such as lights or sirens or any other method of direction to stop.
Pursuit Driving – an attempt by a law enforcement officer operating an emergency vehicle
and simultaneously utilizing lights and siren to apprehend an occupant(s) of another
moving vehicle, when the driver of the fleeing vehicle is aware of the attempt and is
resisting apprehension by maintaining or increasing speed, disobeying traffic laws, ignoring
or attempting to elude the officer.
Emergency Call – a call to duty, including, but not limited to: communications from
citizens, police dispatches, and personal observations by peace officers of inherently
dangerous situations demanding an immediate response on the part of a peace officer.
Emergency calls are not limited to inherently dangerous situations.
Original documents – photographs, DVR hard drives, and any documents that are
handwritten or contain an original signature.
Operational Violation – Any violation during a pursuit that would be considered a moving
traffic violation according to the Ohio Revised Code (ORC) or the Cincinnati Municipal
Code (CMC). An Operational Violation results in a non-compliant pursuit.
Example violations: One Way Streets; any at-fault accident.



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Administrative Violation – Any violation of this procedure that is not an operational or
equipment violation. An Administrative Violation results in a non-compliant pursuit.
Example violations: pursuing for traffic only; more than two vehicles in a pursuit; failure to
terminate a pursuit.
Equipment Violation – Any violation of this procedure involving the camera and/or
microphone systems of the police vehicle’s Digital Video Recording (DVR) equipment.
An Equipment Violation, on its own, does not result in a non-compliant pursuit.
Example violations: Failure to ensure the DVR is recording; failure to report malfunctioning
equipment to a supervisor; failing to record audio.
Purpose:
Ensure the safety of citizens and police officers during the emergency operation of police
vehicles.
Policy:
All sworn personnel will complete any established training program regarding vehicle
pursuits.
Officers must terminate their involvement in motor vehicle pursuits whenever the risks to
their safety, the safety of innocent bystanders, or the safety of the suspect(s) outweigh the
consequences of the suspect's escape.
While operating a police vehicle in emergency mode, entry into an intersection against a
stop sign or signal poses a heightened level of risk to both sworn personnel and the public,
and thus requires an increased level of caution to meet the due regard to safety standard.
In order to show due regard when approaching intersections against a stop sign or red
traffic signal, sworn personnel shall slow down as necessary for the safety of traffic and
shall only proceed into the intersection at a speed which would allow for themselves and/or
other drivers and pedestrians a reasonably sufficient opportunity to avoid a traffic crash.
During the emergency operation of police vehicles, and prior to and during a pursuit,
officers must weigh the following factors:
   •   Degree of risk created by pursuit to others, officer and suspect.
   •   Location where pursuit will take place.
   •   Traffic conditions and amount of pedestrian traffic.
   •   Road conditions.
   •   Time of day.
   •   Weather.
   •   Volume, type, speed and direction of vehicular traffic and direction of pursuit.
   •   Nature/seriousness of suspected crime.



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     •    Condition of police vehicle and suspect’s vehicle.
     •    Any circumstance that could lead to a situation in which the pursuing officer(s) will
          not be able to maintain control of the police vehicle.
     •    Type of vehicle being pursued.
     •    Likelihood of successful apprehension.
     •    Whether the identity of the suspect is known to the point that later apprehension is
          possible.
Officers will not attempt to stop or slow a pursued vehicle by boxing in, heading off,
ramming, or driving alongside during a pursuit.
Officers will not pursue vehicles the wrong way on the interstate or other controlled access
highway, divided roadways, or one-way streets unless specifically authorized by the pursuit
officer in charge (OIC).
Officers must ensure video equipment (DVR and BWC) is activated when operating in
emergency mode and when participating in traffic stops and pursuits. Police motorcycle
units may become involved in a pursuit as primary units when they initiate the pursuit. The
motorcycle unit will turn the pursuit over to a marked police car as soon as possible and
discontinue emergency operation.
Officers wearing plainclothes or using unmarked vehicles will avoid making stops of
suspected vehicles and will not engage in vehicle pursuits. The danger presented to
officers and citizens is much greater than when uniformed officers with marked vehicles
make the initial contact.
Officers will not attempt to stop vehicles while off duty unless it is a life-threatening
situation which, if permitted to continue, could cause serious physical harm to innocent
victims.
Pursuits leaving the initiating district will switch to the channel of the district that the pursuit
enters after it is established the pursuit will not immediately re-enter the boundaries of the
initiating district.
Example One: A vehicle pursuit initiated in District One which enters I-75 north and
passes the Harrison Avenue exit will switch to Channel Five for dispatch.
Example Two: A vehicle pursuit initiated in District One which travels north on Vine Street,
enters District Four and proceeds east on Thill Street, then south on Rice Street back into
District One, may remain on Channel One.
Procedure:
A.       Emergency Operation of Police Vehicles
         1.   Emergency operation (lights and siren) of a police vehicle is authorized in the
              following emergency cases (call to duty) and under the following conditions:
              a.   Officer needs assistance.


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            b.    Person calling for help.
            c.    Report of an explosion.
            d.    Trouble with a prisoner.
            e.    Crimes in progress requiring the immediate presence of a police officer.
            f.    Auto accident with reported injury.
            g.    Emergency medical runs when Fire Department personnel are not
                  immediately available.
            h.    Pursuit driving.
      2.    When operating a police vehicle in the emergency mode, officers:
            a.    Will not operate with reckless disregard for the safety of other citizens.
            b.    Will use the emergency lights (red/blue) and siren.
                  1)    Do not use four-way flashers because they interfere with brake lights
                        and turn signals.
            c.    Will ensure their DVR and BWC is activated.
            d.    Will not have complainants, witnesses, suspects, prisoners, or other non-
                  police personnel as passengers. This restriction does not apply to:
                  1)    Civilian observers
                  2)    Units transporting sick or injured persons to the hospital.
      3.    When driving in emergency mode, the operator will conform to all applicable
            traffic laws and regulations.
            a.    When driving in emergency mode and approaching a red traffic signal or
                  stop sign, the operator must only enter the intersection with a due regard
                  to safety. In order to show due regard when approaching and entering
                  intersections against a stop sign or red traffic signal, the operator shall
                  slow down as necessary for the safety of traffic and shall proceed into
                  these intersections at a speed which would allow for themselves and/or
                  other drivers and pedestrians a reasonable opportunity to avoid a traffic
                  crash.
            b.    When driving in emergency mode, the operator must maintain a vehicle
                  speed which is reasonable for the conditions, including but not limited to:
                  time of day, road conditions, pedestrian and vehicle traffic, and weather;
                  the operator will not exceed the posted speed limit by more than 20 miles
                  per hour.




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B.    Silent Response
      1.    Police officers may respond to certain calls, such as robberies or burglaries in
            progress, using emergency lights only (no audible siren). The officers
            responding on these silent runs must clearly understand:
            a.    The mere use of flashing emergency lights, without an audible siren, does
                  not designate the vehicle as an emergency vehicle by law and may negate
                  any immunity available to the operator.
            b.    They must proceed with extreme caution and at a reasonable speed to
                  avoid endangering the life and property of others.
C.    Portable Flashing Blue Lights on Unmarked Vehicles
      1.    A vehicle with a portable flashing blue light is not considered an emergency
            vehicle.
      2.    The portable flashing blue light should be used to identify emergency conditions
            at an auto accident, road hazard, crime scene, etc.
      3.    Do not use the portable flashing blue light to:
            a.    Identify any unmarked vehicle as an emergency response vehicle.
            b.    Substitute for the emergency equipment on the patrol cars.
D.    Pursuit Driving
      1.    A motor vehicle pursuit is permitted in the following instances:
            a.    On-sight pursuit of a known or suspected felon.
            b.    On-sight pursuit of criminal misdemeanor violations.
            c.    There is reasonable suspicion the occupants of a suspect vehicle have
                  committed a criminal misdemeanor offense.
                  Example: The broadcast of a suspect vehicle and/or suspect vehicle
                  wanted for theft.
            d.    A criminal warrant/capias is on file.
                  1)    Officers must confirm the criminal warrant/capias through the
                        Mobile Data Computer (MDC) or with the dispatcher prior to
                        initiating a pursuit.
                  2)    Vehicle pursuits initiated for traffic offenses only are not permitted.
                        a)    Operating a Vehicle under the Influence (OVI), Driving Under
                              Suspension (DUS) and Reckless Operation are traffic only
                              offenses. Pursuit for these offenses alone is a violation of this
                              procedure.




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            e.    When directed by a supervisor or by Emergency Communications Center
                  (ECC) at the direction of a supervisor to assist in a police pursuit.
      2.    Notification
            a.    A pursuing officer(s) will immediately relay the following information to
                  ECC:
                  1)    Car number.
                  2)    Location.
                  3)    Direction.
                  4)    A description of vehicle, license number, and occupants.
                  5)    Reason for pursuit.
                  6)    Speeds involved.
      3.    ECC Responsibilities
            a.    The dispatcher will immediately notify the initiating pursuit unit's supervisor.
                   That supervisor becomes the pursuit OIC and is responsible for directing
                  the pursuit until its end.
                  1)    If the unit supervisor is unavailable, a district supervisor where the
                        pursuit began becomes the pursuit OIC.
            b.    The dispatcher will note the time, car number, district involved, and
                  immediately notify the ECC shift OIC.
            c.    The pursuit dispatcher will notify other district personnel via an all channel
                  broadcast as the pursuit enters into adjoining district boundaries.
            d.    Keep non-emergency radio traffic to a minimum during the pursuit.
            e.    ECC will broadcast the pursuit on all available channels. Upon anticipation
                  of a pursuit across city limits, ECC will make an all county broadcast
                  (ACB).
            f.    The ECC supervisor will provide the necessary support during the pursuit.
      4.    Supervisory Responsibilities
            a.    The pursuit OIC will retain control and continually monitor and assess the
                  situation. The pursuit OIC will direct specific units in or out of the pursuit,
                  reassign primary or secondary units, set posts, authorize roadblocks, and
                  terminate the pursuit.
                  1)    Final decisions will rest with the pursuit OIC.
            b.    The pursuit OIC will complete Form 34, Vehicle Pursuit Report, and work-
                  flow the form through channels to the district/section/unit commander.
                  When work-flowing the Form 34 and attachments, “Add Notification” to
                  Patrol Bureau and Inspections Section.


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            c.    After reviewing the DVR of any unit involved in the pursuit in accordance
                  with Procedure 12.537, route a copy of the DVR video file(s), along with
                  any other original documents, through the chain of command.
            d.    The supervisor will note the officer’s compliance or non-compliance at the
                  end of the Form 34 narrative.
                  1)    Compliance responses (Refer to the Definitions section of this
                        procedure):
                        a)    Yes – No Violations
                        b)    Yes – Equipment Violation Only
                        c)    No – Operational Violation
                        d)    No – Administrative Violation
      5.    Number of Units
            a.    Unless authorized by the pursuit OIC, no more than two police vehicles will
                  become actively involved in the pursuit.
            b.    The primary unit will:
                  1)    Be responsible for keeping the suspect's vehicle in sight.
                  2)    Advise the supervisor if more than two police units are needed for the
                        pursuit.
                  3)    Have the authority to terminate the pursuit should conditions warrant.
            c.    The secondary unit will:
                  1)    Immediately notify ECC there are two police units involved in the
                        pursuit.
                  2)    Assume responsibility for the transmission of all relevant pursuit
                        information to ECC.
                  3)    Provide backup for the primary unit during the arrest process.
E.    Termination of the Pursuit
      1.    Officers will terminate pursuits under any of the following conditions:
            a.    The pursuit OIC or the primary unit determines the level of danger created
                  by the pursuit outweighs the necessity for immediate apprehension.
            b.    Establishment of the suspect's identity allowing for apprehension at a later
                  time and there is no longer a need for immediate apprehension.
            c.    Location of the pursued vehicle is no longer known.
            d.    The pursued misdemeanor violator crosses the Hamilton County line
                  (Refer to Section F.3.)


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      2.    Once a pursuit has been terminated, the pursuing officer(s) will immediately pull
            to the curb and stop.
F.    Pursuits Leaving Cincinnati
      1.    By statute, police officers have the authority to pursue outside their jurisdiction
            and arrest without a warrant provided:
            a.    The officers would have authority to make the arrest inside their
                  jurisdiction.
            b.    The pursuit takes place without unreasonable delay after the offense.
            c.    The pursuit starts within the police officers' jurisdiction.
            d.    The offense is one of the following:
                  1)    Felony
                  2)    First or second-degree misdemeanor
      2.    If the above criteria are not met, the officers cannot pursue and cannot arrest
            outside their jurisdiction.
      3.    Although it can be a felony to flee and/or elude a police officer (ORC 2921.331),
            if this is the only felony charge, fresh pursuit of a criminal misdemeanor violator
            will terminate at the Hamilton County line.
            a.    Officers must receive supervisory approval before signing ORC 2921.331
                  felony charges.
      4.    Officers may pursue felony suspects beyond state boundaries. However, the
            new jurisdiction will continue the pursuit as the primary unit (if available). The
            Cincinnati primary unit and secondary unit will then assist.
            a.    Officers will terminate pursuits if radio contact with ECC is lost due to
                  officers going beyond radio range.
G.    Outside Agency Pursuits into Cincinnati
      1.    In the event of a pursuit from an outside agency into Cincinnati, the same
            guidelines for pursuits outlined in this procedure will apply to Department
            personnel. Department personnel will not engage in a pursuit from an outside
            agency if the pursuit would be prohibited by our Department.




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            a.    ECC will notify the appropriate district supervisor, who becomes the pursuit
                  OIC for Department personnel if the decision is made to engage in pursuit.
                  1)     The outside agency will remain responsible for the pursuit and serve
                         as the primary unit until responsibility is relinquished to Department
                         personnel.
                  2)     ECC will broadcast the pursuit and its progress.
                  3)     If the pursuit entering Cincinnati does not meet the Department’s
                         requirements for a pursuit, at the direction of a Police supervisor,
                         ECC will notify the outside agency that Department personnel will not
                         engage in pursuit.
            b.    If an outside agency has one vehicle in the pursuit, we will assist with one
                  unit if the pursuit meets the Department requirements for a pursuit.
            c.    If an outside agency has two or more vehicles in pursuit, we will not assist
                  in the pursuit of the fleeing vehicle.
H.    Roadblocks
      1.    Under normal circumstances, officers will not set up roadblocks to stop fleeing
            vehicles. The pursuit OIC may grant permission for a roadblock if he has
            knowledge the suspect has committed:
            a.    Murder or Aggravated Murder
            b.    Aggravated Arson
            c.    Aggravated Robbery
            d.    Aggravated Burglary
            e.    Rape
            f.    Complicity to any of the above
      2.    Officers will set up roadblocks only with the direct permission of the pursuit OIC
            and in accordance with the following guidelines:
            a.    Officers will not set up roadblocks at locations that will endanger innocent
                  citizens or create a hazard to vehicular traffic. Officers will not set up
                  roadblocks which could limit visibility and not allow operators sufficient time
                  to safely stop, e.g., at a curve in the road, or beyond the crest of a grade.
            b.    Use Police Department vehicles only.
                  1)     Do not use Department motorcycles or privately owned vehicles.
            c.    Position the Department vehicles in the roadblock so the open route left
                  through the restricted area will require approaching vehicles to proceed
                  slowly through it.



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                  1)    Turn on all of the vehicle's emergency lighting, turn the ignition switch
                        off, and leave the vehicle. No one is to remain inside the vehicle.
                  2)    If using Stop Sticks, use according to guidelines set forth in Section I.
            d.    Do not detain innocent citizens. Direct them to proceed with their vehicles
                  through the roadblock and out of the path of the fleeing vehicle(s).
I.    Use of Stop Sticks
      1.    The Department currently has four models of Stop Sticks:
            a.    Standard Stop Stick - three feet in length.
            b.    Barracuda – three feet in length but with longer quills designed to stop
                  larger vehicles like buses or trucks.
            c.    Terminator - designed to be placed in front of a tire on a static vehicle,
                  e.g., traffic stop.
            d.    Piranha - resembles the standard Stop Stick but is only 5 1/8” long. It is
                  designed to be placed covertly in front of a tire to ensure the vehicle is not
                  moved.
            Note: District Civil Disturbance Operating Procedure (CDOP) Vans are
            equipped with the Barracuda, Terminator and Piranha Stop Sticks. Supply Unit
            maintains a replacement supply of stop sticks.
      2.    Deployment of Stop Sticks:
            a.    Stop Sticks are designed for a controlled release of air from a target
                  vehicle’s tires, usually within 20-30 seconds. However, under some
                  circumstances tire deflation can increase the possibility that a driver may
                  lose control of the vehicle and crash, resulting in serious or fatal injuries.
                  Therefore, the following guidelines shall be followed when deploying Stop
                  Sticks:
                  1)    Officers will use Stop Sticks only on vehicles with four or more
                        wheels.
                        a)    Do not use Stop Sticks on motorcycles.
                  2)    Avoid deploying Stop Sticks on motor vehicles in transit if there are
                        pedestrians in the immediate vicinity and the use of the Stop Sticks
                        would place them at risk of physical harm or injury, i.e., use of Stop
                        Sticks on a motor vehicle traveling at a high rate of speed in a
                        residential area.
                  3)    Limit or isolate traffic from the pursuit or location where the Stop
                        Sticks are being deployed.
                  4)    Stop Sticks will not be deployed on expressways.



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            b.    Normally the pursuit OIC will make the decision to use Stop Sticks.
                  Situations may occur making this impossible. Under these circumstances,
                  officers may use Stop Sticks if they can do so safely.
                  1)    Operators of vehicles equipped with Stop Sticks must receive proper
                        training in the use of Stop Sticks.
            c.    Officers must alert ECC of their intention to use Stop Sticks, and of their
                  exact location.
                  1)    ECC will relay the location to the pursuing officers.
            d.    Do not discard used Stop Sticks. The manufacturer replaces used Stop
                  Sticks for a period of five years from purchase when the old ones are
                  returned.
                  1)    If Stop Sticks are used in a pursuit situation, the pursuit OIC will:
                        a)    Address their use and effectiveness in the Form 34, Vehicle
                              Pursuit Report.
                        b)    Complete a Form 630, Equipment/Supply/Service Order Form,
                              and submit through the chain of command, to the Supply Unit
                              for the replacement of Stop Sticks.
                        c)    Ensure used Stop Sticks accompany the Form 630 to Supply
                              Unit.
            e.    If Stop Sticks were used and the incident did not involve a pursuit, the unit
                  supervisor will investigate and report via Form 17 to the Police Chief.
      3.    Preventing a pursuit for criminal offenses and stolen vehicles
            a.    Officers may deploy stop sticks to prevent pursuits before initiating a traffic
                  stop when there is reason to believe an occupant of the vehicle has just
                  committed a criminal offense or the vehicle is entered as stolen.
J.    Reporting Process – Traffic Stop initiated and vehicle flees. (See Chart A of this
      procedure)
      1.    No pursuit initiated
            a.    Vehicle located/recovered
                  1)    Investigation handled by the officer
                  2)    A Non-NIBRS Case Report, will be completed for “Fleeing and
                        Eluding, ORC 2921.331” and will include the original violation,
                        initiating officer, and district in the narrative.
                        a)    The Non-NIBRS Case Report will clearly specify whether there
                              was or was not a pursuit initiated
            b.    Vehicle not located/recovered – follow the process outlined in J.3.


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      2.    Pursuit initiated
            a.    Vehicle escapes but is located/recovered
                  1)    Investigation handled by the officer
            b.    Vehicle stops
                  1)    Investigation handled by the officer
            c.    Vehicle escapes/not located – follow the process outlined in J.3.
      3.    Vehicle escapes from a traffic stop or pursuit and is not located/recovered:
            a.    A Non-NIBRS Case Report will be completed for “Fleeing and Eluding,
                  ORC 2921.331” and will include the original violation, initiating officer and
                  district in the narrative.
                  1)    Clearly specify whether there was or was not a pursuit initiated.
                  2)    Select “fleeing and eluding” as the loss code in the Vehicle/Property
                        Tab.
            b.    If there is enough identifying information on the fleeing vehicle, provide
                  CIN1 with the RMS case number and information for entry into RCIC.
      4.    Once vehicle is located/recovered:
            a.    Complete a Non-NIBRS supplement report in the original RMS case folder.
                  1)    Select “fleeing and eluding” as the recovery code in the
                        Vehicle/Property Tab.
            b.    Tow the vehicle to the Impound Unit for investigation of “Fleeing and Eluding.”
                  1)    Fax a copy of the 369 to CIN1 for removal from RCIC.
                  2)    Include the RMS case number.
            c.    The reporting officer will send a blotter notification to the investigating
                  officer, who will close the report.
      5.    If the vehicle is not located or recovered within 28 days, the auto theft
            investigator from the district of occurrence will close the report and contact CIN1
            for removal from RCIC.
      6.    When a civil citation is issued during the investigation, the white copy of the civil
            citation will be forwarded to the district/section/unit designee responsible for
            entering civil citations into the Civil Citation Tracking System for entry.




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             Chart A                                                                12.535
Vehicle Pursuit Reporting Process

                                                            Traffic
                                                             Stop


                                                            Vehicle
                                                             Flees


               No                                                                                        Pursuit
             Pursuit

                                             Vehicle Not                   Vehicle
       Vehicle
                                              Located/                   Escapes Not
                                                                                               Vehicle         Vehicle Escapes
       Located/                                                                                                   Located/
                                             Recovered                     Located              Stops            Recovered
      Recovered




      Handled by                                           Non-NIBRS                                     Handled by
        Officer                                              Report                                        Officer
                                    If enough
                                   information
                                     for entry

      Non-NIBRS                                               CIN1
        Report                                             (for entry)




                       Vehicle                                                          Vehicle Not
                       Located                                                         Located within
                                                                                          28 days



         Vehicle to            Blotter
                           notification to                                                Closed by
         Impound
                           Inv. Officer to                                               District Auto
                            close report                                                 Investigator


         Form 369
                                                                                             CIN1
                                                                                        (for removal)

            CIN1
       (for removal)




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